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                                  UNITED STATES DISTRICT COURT

                                          DISTRICT OF IDAHO

UNITED STATES OF AMERICA                                      Case No.: CR18-258-S-EJL
     Plaintiff
 vs                                                           DEFENDANT MIKHAIL
                                                              IYERUSALIMETS’ JOINT
PAVEL     BABICHENKO,     GENNADY                             MOTION IN LIMINE TO EXCLUDE
BABITCHENKO,   PIOTR   BABICHENKO,                            WITNESSES AND EVIDENCE
TIMOFEY    BABICHENKO,    KRISTINA                            RELATING TO SAFETY ISSUES AND
BABICHENKO, NATALYA BABICHENKO,                               ALLEGED HARM TO CONSUMERS
DAVID BIBIKOV, ANNA IYERUSALIMETS,
MIKHAIL IYERUSALIMETS, and ARTUR
PUPKO,

         Defendant.

______________________________________________________________________________

        COMES NOW, Defendant Mikhail Iyerusalimets, by and through his attorney of a record,

Ellen Smith and hereby files this joint1 Motion in Limine asking the Court to exclude evidence of,

and preclude the Government from making arguments about, any alleged safety issues relating to

products at issue in this case.




1
 This joint motion is on behalf of Pavel Babichenko, Gennady Babitchenko, Piotr Babichenko, Timofey
Babichenko, Kristina Babichenko, Natalie Babichenko, David Bibikov, Anna Iyerusalimets, and Mikhail
Iyerusalimets.

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                                         I.      INTRODUCTION

        The Government has indicted the defendants on fifty-one charges related to the sale of

allegedly counterfeit electronic devices. Dkt. 210. Included in the Government’s draft exhibit list

in this case are customer complaints alleging that some of the devices sold by the defendants

caused some sort of harm, such as by overheating, melting, or catching fire. Importantly, it appears

that only one of those complaints is regarding a device that was listed in the superseding

indictment. See Dkt. 210 at 16 (Count 34 against Piotr Babichenko). The Government has also

disclosed a handful of the complaining customers on its draft witness list.

        All evidence of those safety-related complaints is inadmissible at trial. First, that evidence

does not make any fact of consequence to the charges more or less probable, including the

allegation that the products are “counterfeit,” and thus it is irrelevant. Second, the customer

complaints are out of court statements subject to the hearsay rule, and to which no exception to the

general prohibition of hearsay applies. Third, evidence of the products causing harm or creating

safety issues will unfairly prejudice the defendants, waste the court’s time, and mislead the jury.

Accordingly, the Court should exclude all evidence and preclude all argument about alleged harm

or safety issues presented by the products sold by the defendants.

                                        II.     ARGUMENT

A.      Because Evidence of Safety Issues Does Not Go to Prove the Crimes Charged in the
        Superseding Indictment, that Evidence is Irrelevant and Inadmissible.

        The Federal Rules of Evidence prohibit the admission of irrelevant evidence. FRE 402.

Evidence is considered to be relevant if it has “any tendency to make the existence of any fact that

is of consequence to the determination of the action to be more probable or less probable than it

would be without the evidence.” FRE 401. To be “relevant,” evidence need not be conclusive

proof of a fact sought to be proven; all that is required is a “tendency” to establish the fact at issue.

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United States v. Curtin, 489 F.3d 935, 943 (9th Cir. 2007). “Relevancy is not an inherent

characteristic of any item of evidence but exists only as a relation between an item of evidence and

a matter properly provable in the case.” FRE 401, Advisory Committee Notes.

       Here, evidence that the products sold by the defendants allegedly caused harm or presented

safety risks has no tendency to establish any fact of consequence in this case, including that the

charged products are “counterfeit.” As such, the Court should exclude all evidence, and preclude

all argument, about alleged harm or safety issues presented by the products.

       The Government charged Fifty-One (51) counts in the Superseding Indictment, including

Wire Fraud, Mail Fraud, Trafficking in Counterfeit Goods, Money Laundering, and conspiracy to

commit each of those offenses. Dkt. 210 (charging Conspiracy to Commit Wire Fraud (18 U.S.C.

§§ 1349, 1343), Wire Fraud (18 U.S.C. § 1343), Mail Fraud (18 U.S.C. § 1341), Conspiracy to

Traffic in Counterfeit Goods (18 U.S.C. § 2320(a), (b)(1), (f)(1)), Trafficking in Counterfeit Goods

(18 U.S.C. § 2320(a), (b)(1)), Conspiracy to Launder Money (18 U.S.C. §§ 1956(a)(1)(B)(i), 2),

and Money Laundering (18 U.S.C. §§ 1956(a)(1)(B)(i), 2)). None of those offenses require the

Government to prove as an element that the alleged counterfeit goods caused harm or presented

safety issues, nor does evidence of harm or safety issues have any tendency to establish any fact

of consequence to those charges. See id.; FRE 401. That evidence is, therefore, irrelevant and

inadmissible. See FRE 402.

       To be sure, the Government must prove beyond a reasonable doubt that the products

charged in the conspiracy, smuggling, and trafficking offenses were “counterfeit.” See Dkt. 210.

However, any alleged harm or safety issues posed by the products has no bearing whatsoever on

whether they were counterfeit. 18 U.S. Code § 2320 (a)(1) states (in pertinent part): “Whoever

intentionally traffics in goods or services and knowingly uses a counterfeit mark on or in



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connection with such goods or services, or attempts or conspires to violate any of paragraphs (1)

through (4) shall be punished as provided in subsection (b).”

       18 U.S. Code § 2320(f)(1) further denotes that the term “counterfeit mark” means:

               (A) a spurious mark--
               (i) that is used in connection with trafficking in any goods,
               services, labels, patches, stickers, wrappers, badges, emblems,
               medallions, charms, boxes, containers, cans, cases, hangtags,
               documentation, or packaging of any type or nature;
               (ii) that is identical with, or substantially indistinguishable from, a
               mark registered on the principal register in the United States Patent
               and Trademark Office and in use, whether or not the defendant knew
               such mark was so registered;
               (iii) that is applied to or used in connection with the goods or
               services for which the mark is registered with the United States
               Patent and Trademark Office, or is applied to or consists of a label,
               patch, sticker, wrapper, badge, emblem, medallion, charm, box,
               container, can, case, hangtag, documentation, or packaging of any
               type or nature that is designed, marketed, or otherwise intended to
               be used on or in connection with the goods or services for which the
               mark is registered in the United States Patent and Trademark Office;
                and
               (iv) the use of which is likely to cause confusion, to cause mistake,
               or to deceive.

       Although the “counterfeit” definition lays out four specific and distinct factors, there is

nothing in the aforementioned definition that even suggests a “harm” requirement. In particular,

there are no factors requiring that the charged products caused harm to consumers, or that the

products were even at risk for causing harm. That is hardly surprising, as it is common knowledge

that, just as allegedly “counterfeit” products may be defective or cause harm to consumers, so too,

can genuine or authentic products. For example, Samsung recently recalled 1.9 million Note7

phones after receiving 96 reports that the batteries overheated, 13 reports of burns, and 47 reports

of property damage.2 Tens of millions of cars with defective Takata airbags were recalled starting



2
 See Samsung Expands Recall of Galaxy Note7 Smartphones Based on Additional Incidents with
Replacement Phones; Serious Fire and Burn Hazards, United States Consumer Product Safety
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in 2014 after the airbags were found to explode on deployment, injuring or killing those inside.3

These are just two examples, but the examples are quite literally countless. In fact, there is an

entire body of law that addresses non-counterfeit products that have manufacturing errors causing

harm—products liability. Thus, claims that an allegedly counterfeit product may have caused

harm to a consumer is not relevant to a determination of whether the product is, in fact, counterfeit.

       What is relevant, however, is whether the defendants knowingly smuggled and/or

intentionally trafficked in a product that contained a spurious mark “that is identical with, or

substantially indistinguishable from, a mark registered on the principal register of the United States

Patent and Trademark Office (hereinafter “USPTO”). 18 U.S.C. § 2320(f)(1)(A)(ii).

       In its recent Motion to Exclude Expert Testimony, the Government spent thirteen (13)

pages arguing “The functionality of a product bearing a counterfeit mark is wholly irrelevant to

the infringement of the mark.” See Dkt. No 787 p. 8. The Government goes on to say “(The)

Defendants are solely charged with trafficking in items bearing a counterfeit trademark” and “the

functionality of the ‘devices’ and the underlying operating systems is irrelevant.” See Dkt. No.

787, p. 10. It even quotes a 4th Circuit case using italics to emphasize the point: “For this purpose

the actual quality of the goods is irrelevant….” See Dkt. No 787 quoting United States v. Farmer,

370 F.3d, 435, 441 (4th Cir. 2004).

       If the functionality of a device is irrelevant and the only thing that matters is the actual

“spurious mark,” then the alleged “safety” issues are equally as irrelevant. It is the other side of

the same coin. Whether or not the product(s) sold by the defendants caused or could have caused




Commission, available at https://www.cpsc.gov/Recalls/2016/samsung-expands-recall-of-galaxy-
note7-smartphones-based-on-additional-incidents-with (last visited Oct. 29, 2020).
3
  See Takata Recall Spotlight, United States Department of Transportation, National Highway
Traffic Safety Administration, available at https://www.nhtsa.gov/equipment/takata-recall-
spotlight (last visited Oct. 29, 2020).
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harm to the consumer has absolutely no bearing whatsoever on whether the product used an

identical or substantially indistinguishable mark from a mark registered with the USPTO. The

same logic applies with equal force to the other factors listed in 18 U.S.C. § 2320(f)(1)(A)(ii).

       Thus, evidence of alleged harm or safety issues posed by the products has no tendency to

establish any fact of consequence in this case, including that the products are “counterfeit.”

Because that evidence is irrelevant, the Court must exclude it.

B.     Customer Complaints of Alleged Safety Issues Are Hearsay to which No Exception
       Applies, and Are Therefore Inadmissible.

       Hearsay is “a statement other than one made by the declarant while testifying at the trial or

hearing, offered in evidence to prove the truth of the matter asserted.” FRE 801(c). Hearsay is

generally inadmissible at trial. FRE 802. If the Government offers the customer complaints to

prove that the products the defendants sold to consumers presented risks of overheating, melting,

or catching fire, the evidence would be (1) hearsay under FRE 801(c), and (2) inadmissible at trial

because no exception to the general hearsay rule applies. The Court must exclude evidence of,

and preclude argument about, customer complaints of alleged safety issues.

       1.      The Customer Complaints Are Inadmissible Hearsay.

       To begin, customer complaints are out of court statements which, to the extent the

Government offers them to prove the truth of the complaints, are hearsay. See FRE 801(c). In

other words, if the Government offers the complaints to prove that the products the defendants

sold were unsafe or caused harm to consumers because the products overheated, melted, or caught

fire, the complaints would be inadmissible hearsay. See Vucinich v. Paine, Webber, Jackson &

Curtis, Inc., 803 F.2d 454, 461 (9th Cir. 1986) (summarily concluding that evidence “related to

another customer’s complaint” was hearsay, and thus “[t]he trial court did not abuse its discretion

in excluding it.”); Shields v. Sturm, Ruger & Co., 864 F.2d 379, 381 (5th Cir. 1989) (finding reports

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of product failures to defendant gun manufacturer by consumers were not admissible to prove the

truth of the matter asserted in the reports); Olson v. Ford Motor Co., 410 F. Supp. D 855, 861

(D.N.D. 2006). (“The Court finds that customer complaints… constitute hearsay [because] there

is no question that the customer complaints are out-of-court statements”); Nissan Motor Co., v.

Armstrong, 145 S.W. 3d131, 140 (Tex. 2004). This is because such complaints are “out of court

statements” made to prove the truth of the assertions—that the incidents complained of occurred

as reported.

          Notably, complaints, although sometimes true, may also be accusatory and self-serving.

Such complaints are rarely made under oath and never subject to cross-examination. Thus, they

fall squarely within the rationale underpinning the rule against hearsay: “Hearsay statements are

usually excluded because the declarant is unsworn and unavailable for cross-examination and

because the jury cannot evaluate his demeanor. Consistently with these rationales, exceptions to

the hearsay rule in Rules 803 and 804 are made because the circumstances of the declaration

indicate that the declarant’s perception, memory, narration, or sincerity concerning the matter

asserted in the statement is trustworthy.” United States v. Satterfield, 572 F.2d 687, 691 (9th Cir.

1978) (internal citations omitted).

          Next, should the Government seek to introduce the customer complaints not to prove their

truth, but instead to prove the defendants were on notice that consumers complained about the

quality of the products, the customer complaints would still be inadmissible for two main reasons.

First, there is very little evidence that the defendants knew about said customer complaints. As

such, customer complaints cannot be used to show the defendants’ knowledge of the alleged safety

issues.

          Second, even if the defendants had known that a small percentage of products may have

presented potential safety issues, that does not go to show they were on notice that the products
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were counterfeit.    As discussed above, that a product malfunctions does not indicate it is

counterfeit; companies often recall authentic products because they present safety issues.

Therefore, even if the defendants were aware of complaints related to safety issues, the complaints

are not relevant to show that the defendants were on notice that the products were counterfeit.

       2.        No Hearsay Exception Applies to the Customer Complaints.

       Otherwise inadmissible hearsay may be admitted at trial if it falls within an exception to

the hearsay rule. See FRE 803. Under the “business records exception,” hearsay statements are

admissible if:

       (A) the record was made at or near the time by—or from information transmitted
       by—someone with knowledge;
       (B) the record was kept in the course of a regularly conducted activity of a business,
       organization, occupation, or calling, whether or not for profit;
       (C) making the record was a regular practice of that activity;
       (D) all these conditions are shown by the testimony of the custodian or another
       qualified witness . . . ; and
       (E) the opponent does not show that the source of information or the method or
       circumstances of preparation indicate a lack of trustworthiness.

FRE 803(6); see also United States v. Ray, 930 F.2d 1368, 1370 (9th Cir. 1990). The business

record exception is premised on the reliability of records that an employee has a business duty to

keep, and thus “it does not permit introduction of statements made by customers unless an

employee was responsible for verifying the statements.” United States v. Arteaga, 117 F.3d 388,

395 (9th Cir. 1997); see also United States v. Ordonez, 737 F.2d 793, 805 (9th Cir. 1984) (a

document is not admissible as a business record if the source of information indicates a lack of

trustworthiness); United States v. Fuchs, 218 F.3d 957, 965 (9th Cir. 2000) (“The district court has

wide discretion to determine whether a business record meets the trustworthiness standard of the

business records exception to the rule against hearsay.”) (citing United States v. Scholl, 166 F.3d

964, 978 (9th Cir. 1999)); FRE 803, Advisory Committee Notes to Paragraph 6 (“If … the supplier

of the information does not act in the regular course [of business], an essential link is broken’ the
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assurance of accuracy does not extend to the information itself, and the fact that it may be recorded

with scrupulous accuracy is of no avail.”).

       The customer complaints themselves “do not qualify as business records” because the

business records exception applies “only if the person who makes the statement is himself acting

in the regular course of business.” United States v. Ismoila, 100 F.3d 380, 392 (5th Cir. 1996)

(internal citations omitted); see also United States v. Gurr, 471 F.3d 144, 151–52 (D.C. Cir. 2006)

(Double hearsay within business records “is excepted from the hearsay rule provided ‘both the

source and the recorder of the information, as well as every other participant in the chain producing

the record, are acting in the regular course of business.’

       Because the regularity of making the record is evidence of its accuracy, statements by

‘outsiders’ are not admissible for their truth under Fed. R. Evid. 803(6), in the absence of a

showing that the outsider had a duty to report the information, or that it was standard practice for

the preparer to verify information from outside sources.”) (internal citations omitted); Grogg v.

Missouri Pac. R. Co., 841 F.2d 210, 213–14 (8th Cir. 1988) (“If the source of the information [in

the business record] was an outsider to the chain producing Missouri Pacific’s business record,

rule 803(6) by itself does not permit admission of the information provided by the outsider. In this

instance, ‘[t]he outsider’s statement must fall within another hearsay exception to be admissible.’”)

(quoting United States v. Baker, 693 F.2d 183, 188 (D.C. Cir. 1982)).       Here, the complaining

customers were not acting in the “regular course of defendant’s business” when they complained

about the defendant’s products. The customer complaints are thus not admissible under the

business records exception.

       Accordingly, the Court should preclude the Government from introducing customer

complaints of any alleged safety issues related to the products sold by the defendants because those



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complaints are hearsay to which no exception applies, are not relevant to prove anything other than

the truth of the matter asserted, and are inherently untrustworthy.

C.     Whatever Slight Probative Value Evidence of Safety Issues Could Possibly Have is
       Heavily Outweighed By The Risk of Unfair Prejudice, Wasting Time, and Misleading
       the Jury.

       A district court has the discretion to exclude otherwise admissible evidence if “its probative

value is substantially outweighed by a danger of . . . unfair prejudice, confusing the issues,

misleading the jury, undue delay, wasting time, or needlessly presenting cumulative evidence.”

FRE 403. Rule 403 calls on the court to balance the probative value of, and need for, the evidence

against the harm likely to result from its admission. FRE 403, Advisory Committee Notes to the

1973 Proposed Rules. In this case, any evidence about alleged safety issues, such as customer

complaints that products overheated, melted, or were at risk of catching fire, (1) is of no probative

value because it has no bearing on the merits of the case, (2) will unfairly prejudice the defendants,

and (3) will waste the Court’s limited time and mislead the jury. On balance, whatever slight

probative value the evidence could possibly have is substantially outweighed by the risk of unfair

prejudice, wasting time, and misleading the jury. See FRE 403. The Court must therefore exclude

all evidence, and preclude all argument, relating to alleged safety issues presented by the products

sold by the defendants.

       1.      Evidence of Alleged Safety Issues or Harm to Consumers is of No Probative
               Value.

       As discussed at length above, evidence of any alleged safety issues related to the products

sold by the defendants does not have a “tendency” to establish a fact in issue nor establish an

element of the charges brought in the Superseding Indictment. See supra, II(A). That evidence is

thus of no probative value in this case.




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       An analogous situation arose in United States v. Gonzales-Flores, 418 F.3d 1093 (9th Cir.

2005), in which the government charged the defendant with knowingly smuggling non-citizens

into the United States at a location other than a recognized port of entry. Id. at 1098. The

Government introduced evidence at trial that two women suffered heat stroke while being

transported by the defendant. Id. On appeal, the Court found this evidence to be “irrelevant and

unduly prejudicial,” and held that the evidence of injury was not admissible because it did not

affect the probability that the defendant had committed any element of the crime. Id. The Court

concluded that the injuries do “not go to any of the elements of the crime” and thus, its probative

value [is] low.” Id. Here, as in Gonzales-Flores, evidence of safety issues related to the products

sold by the defendants is irrelevant to the charges, and is thus of no probative value.

       2.      The Risk of Unfair Prejudice Heavily Outweighs Whatever Slight Probative
               Value Evidence of the Safety Issues Could Possibly Have.

       “The term ‘unfair prejudice,’ as to a criminal defendant, speaks to the capacity of some

concededly relevant evidence to lure the factfinder into declaring guilty of a different ground from

proof specific to the offense charged.” United States v. Curtin, 489 F.3d 935, 963 (9th Cir. 2007)

(citing Old Chief v. United States, 519 U.S. 172, 180 (1997). Evidence is unduly prejudicial if it

creates “a genuine risk that the emotions of the jury will be excited to irrational behavior … [and]

this risk is disproportionate to the probative value of the offered evidence.” Id. “Unfair prejudice

results from an aspect of the evidence . . . which makes conviction more likely because it provokes

an emotional response in the jury or otherwise tends to affect adversely the jury’s attituded toward

the defendant wholly apart from its judgment as to his guilt or innocence of the crime charged.”

United States v. Bailleaux, 685 F.2d 1105, 1111 (9th Cir. 1982). “Where the evidence is of very

slight (if any) probative value, it’s an abuse of discretion to admit it if there’s even a modest




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likelihood of unfair prejudice or a small risk of misleading the jury.” United States v. Hitt, 981

F.2d 422, 424 (9th Cir. 1992).

       Just as above, Gonzalez-Flores is dispositive and requires the same conclusion here: This

kind of emotional evidence of harm risks causing substantial unfair prejudice while having little

or no probative value, and is thus inadmissible. See 418 F.3d at 1099.

       Evidence of safety issues or alleged harm to consumers, such as customer complaints that

products overheated, melted, or caught fire, is precisely the type of evidence that “provokes an

emotional response in the jury or otherwise tends to affect adversely the jury’s attitude toward the

defendant wholly apart from its judgment as to his guilt or innocence.” United States v. Yazzie,

59 F.3d 807, 811 (9th Cir. 1995) (citation and internal quotation marks omitted); see also Vucinich

v. Paine, Webber, Jackson & Curtis, Inc., 803 F.2d 454, 461 (9th Cir. 1986) (concluding that

evidence related to customer’s complaint “about short sales made by another broker . . . might well

have been confusing to the jury and prejudicial to the defendants,” and the district court did not

abuse its discretion in excluding it). That evidence, though irrelevant and unsubstantiated by any

hospital reports or product testing reports, would “lure the factfinder into declaring guilt” not

because the defendants were guilty of trafficking in counterfeit goods, but because they allegedly

caused or put consumers at risk of harm. Curtin, 489 F.3d at 963. In line with Gonzales-Flores,

there is, at the very least, a “modest likelihood” that the defendants will be unfairly prejudiced by

the admission of the evidence. Hitt, 981 F.2d at 424. That risk of unfair prejudice outweighs

whatever slight probative value the evidence could possibly have, and so the Court should exclude

it.4


4
 Relatedly, the Government has attempted to bring up alleged “harm” of the products sold by
defendants in nearly every hearing to taint the Court with such irrelevant evidence. This conduct
needs to cease immediately so that the defendants can get a fair trial on the items that have actually
been charged in the Superseding Indictment.
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       3.      Any Probative Value of Evidence of Safety Issues or Harm to
               Consumers is Substantially Outweighed By Its Potential to Waste
               Time and Mislead the Jury.

       This Court has the discretion to exclude even probative evidence if admitting that evidence

would be a waste of time or mislead the jury. FRE 403; Tennison v. Circus Circus Enterprises,

Inc., 244 F.3d 684, 690 (9th Cir. 2001) (evidence excluded because its admission would have

resulted in a “mini trial,” which would have been an “inefficient allocation of trial time”). That is

precisely the case here. Evidence of alleged safety issues is of no probative value, but will create

the need for a mini-trial, waste the Court’s time and mislead the jury. Thus, the Court should

exclude it.

       The Ninth Circuit’s reasoning in United States v. Bussell, 414 F.3d 1048 (9th Cir. 2005),

is instructive. There, Bussell and her lawyers were charged with omitting assets and making false

statements related to her petition for bankruptcy relief. Id. at 1051. At trial, Bussell argued that

she had acted in good faith and simply relied on the advice of her attorneys. Id. at 1052. Consistent

with that argument, she sought to introduce evidence that her attorneys had provided similar advice

to other bankruptcy clients, and also led those clients to believe the fraudulent schemes created by

the attorneys were legitimate. Id. at 1058-59. The Ninth Circuit affirmed the district court’s

decision to exclude that evidence under Rule 403 because “its probative value was substantially

outweighed by the dangers of confusing the issues and delaying the trial.” Id. at 1059. It explained

that, “the [excluded] testimony would indicate the alleged pattern only if [the attorney’s] other

clients were in fact ‘innocent dupes.’ Yet determining the clients’ innocence would require a

potentially confusing and time-consuming ‘trial within a trial.’” Id.

       In this case, just as in Bussell, allowing the Government to introduce evidence of alleged

safety issues with the products would result in a trial within a trial, risk confusing the jury, and

would waste a significant amount of time in an already-lengthy trial. See id. at 1058-59. To
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adjudicate this “safety” issue properly, both parties would need to introduce evidence relating to

the legitimacy of any individual complaint, which may have been the result of the consumer’s

misuse of the product, a pretext for a customer who had a change of heart and needed an ostensible

reason to get a refund, or even a “clever” competitor who simply wanted to shut down the

defendants’ business(es) to stop the competition in their industry.

       The parties would also need to introduce evidence of whether specific products sold by

defendants were in fact unsafe for use or did actually cause consumers harm beyond those

complaints. This would require the Government to identify and call consumers of defendant’s

products that allegedly suffered harm as witnesses, as well as additional expert witnesses to test

the products specifically for the purpose of developing an opinion about the risks of the products

overheating, melting, or catching fire. In response, the defendants would vigorously contest the

Government’s characterization of the quality of the products, the harm the products caused, and

the defendants’ awareness of the safety issues.

       This, in turn, would require the defense to, among other things, identify and engage product

experts directly related to testing the products for safety issues, run surveys among consumers of

the products to determine the actual incidence of harm, and call witnesses to testify as to the

defendants’ knowledge and involvement in procuring the products and ensuring they were safe for

use. All of this extraneous evidence and testimony would prolong the already dauntingly-lengthy

proceedings in this case and be a waste of the Court’s time. Further, the evidence would mislead

the jury into believing that safety issues are somehow relevant to the charged offenses, requiring

the defense to waste a significant amount of time addressing that misconception. Whatever slight

probative value the evidence of safety issues related to the products sold by the defendants could

possibly have, it is heavily outweighed by the waste of time and risk of misleading the jury.



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       In sum, given the minimal probative value of the evidence, balanced against its risk of

causing the defendants unfair prejudice, wasting the Court’s time, and misleading the jury, the

Court should exclude evidence of, and preclude argument about, any alleged safety issues related

to the products sold by the defendants.

                                    III.   CONCLUSION

       For the foregoing reasons, defendant Mikhail Iyerusalimets respectfully asks the Court to

exclude all evidence, and preclude all argument, about any purported safety issues presented by

the products sold by defendants and any harm those products allegedly caused consumers.

Dated: April 5, 2020.

                                                   Respectfully Submitted,
                                                   SMITH HORRAS, P.A.
                                                   Ellen N. Smith


                                                   By__/s/_______________________
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                                                   Attorney for Defendant
                                                   MIKHAIL IYERUSALIMETS




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                                CERTIFICATE OF SERVICE


        I hereby certify that on this 5th day of April, 2020, I filed the foregoing electronically
 through the CM/ECF system, which caused the parties or counsel to be served by electronic
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